Case 22-12284-mdc            Doc 90      Filed 06/20/23 Entered 06/20/23 15:30:06                    Desc Main
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Kelvin A. Lashley aka Kelvin Alvin Lashley
                              Debtor(s)                                              CHAPTER 13

The Bank of New York Mellon, successor to The Bank
of New York, not in its individual capacity but solely as
Trustee on behalf of the holders of the CIT Mortgage                              NO. 22-12284 MDC
Loan Trust, 2007-1 Asset-Backed Certificates, Series
2007-1
                                 Movant
                vs.                                                        11 U.S.C. Sections 362 and 1301

Kelvin A. Lashley aka Kelvin Alvin Lashley
                              Debtor(s)

Alice Lashley
                                  Co-Debtor

Kenneth E. West
                                  Trustee

                                                    ORDER

         AND NOW, this 20th day of           June        , 2023 at Philadelphia, upon failure of Debtor(s) and the
 Trustee to file and Answer or otherwise plead, it is:
         ORDERED THAT: The Motion for Relief from the Automatic Stay of all proceedings is granted and
 the Automatic Stay of all proceeding, as provided under Section 362 of the Bankruptcy Abuse Prevention and
 Consumer Protection Act of 2005 (The Code), 11 U.S.C. Section 362 and the Co-Debtor Stay under Section
 1301 of the Bankruptcy Code , is modified with respect to the subject premises located at 4 Donny Brook
 Way, Collegeville, PA 19426 (“Property), so as to allow Movant, its successors or assignees, to proceed with
 its rights and remedies under the terms of the subject Mortgage and pursue its in rem State Court remedies
 including, but not limited to, taking the Property to Sheriff’s Sale, in addition to potentially pursuing other
 loss mitigation alternatives including, but not limited to, a loan modification, short sale or deed-in-lieu of
 foreclosure. Additionally, any purchaser of the Property at Sheriff's Sale (or purchaser's assignee) may take
 any legal action for enforcement of its right to possession of the Property.




                                                                     MAGDELINE D. COLEMAN
                                                                     Chief Bankruptcy Judge
